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EXHIBIT AA
Case 2:08-cv-01021-PSG-RC Document 9-28

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FOR 987.9 P.C. APPOINTML Enter in this box the word "CONFIDENTIAL" and
complete the box at bottom left. submit this form to the Superior Court Supervising Judge
of the Criminal Division, or, for District cases, the District Supervising Judge, not to the
Trial Judge.

SUPERIOR COURT OF CALIFORNIA MUNICIPAL COURT OF THE
COUNTY OF LOS ANGELES JUDICIAL DISTRICT
APPOINTMENT ORDER

PEOPLE VS.
--OR--

PROFESSIONAL APPOINTEE COURT EXPENSE

IN THE MATTER OF
BRITNEY SPEARS, Conservatee

CASE NUMBER (INCLUDE CRIMINAL CASE DEFENDANT CODE
BP 108 870

INSTRUCTIONS TO APPOINTEE: At time of appointment, complete this form, keep the

green copy and send all remaining copies to

the appointing court Dept./Div. for approval. Attach a self-addressed stamped envelope to be used to return to you th approved blue copy
for your record. When approved, this form sets up a Case payment account for you. The information must be in system files prior to
processing your claim. Subsequent declarations must match the appointment effective date, the case number (including Criminal case

defendant code) and your appointee ID number. See declaration

form 76D738-A219 for complete instructions.

DATE APPOINTMENT EFFECTIVE: _ 02/01 / 08  APPOINTEELD. NUMBER: 066 279
MM DD YY Provide the appointee identification number you reported on
Service dates should not precede this date. the “Status Notification Form". {Not your Claimant ID Number. |
APPOINTEE NAME: (PRINT) | SAMUEL D. INGHAM PHONE NO: _ (310) 556-9751
APPOINTING DISTRICT/BRANCH: Central DEPT/DIV:___ Probate _D-11
CLIENT NAME: (PRINT BRITNEY SPEARS
APPOINTEE TYPE: (Check One) CASE TYPE: (Check One)
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COUNSEL FOR THIS APPOINTMENT: (Check One) Civil Arbitration oc escseceseevececeeeseeeececen. cva []
Public Defender PD []
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FOR CAPITAL CASE DEFENSE INVESTIGATION Lead Counsel os cscssssseseceseseeeeeeeeecec., C]
987.9 P.C. APPOINTMENTS: Second Counsel sv ssnsesseceoeoseeceeesecca., C
Juvenile Bar Panel ccasuessesecsseeseceeeceeeecc.., T]
NAME OF DEFENSE ATTORNEY Other Panel Type PVP te
Appointments under this section must be covered by an “authoriztion to incur * x ? fi
ex] " submitted by the Defense Attomey and approved for a set or, for Ae
District eases, the District Supervising Judge. Subsequent claims must show February 01, 2008 4. Lpova  , Sf) ‘
signed approval by the defense Attomey of record. Date: 2 few AVIVA K.BOBB
JUDGE OF THE SUPERIOR COURT
PINK COPY - CASE FILE

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